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                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH DAKOTA
                                   CENTRAL DIVISION

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In re:                                                 Adversary #05 – 03003

SI TANKA UNIVERSITY,                                   Bankr. Case # 05 – 30027
A tribally – chartered corporation,                    Chapter 11

                Debtor.
                                                       NOTICE OF APPEAL



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SI TANKA UNIVERSITY,

                Appellant/Plaintiff,

vs.

UNITED STATES DEPARTMENT OF
EDUCATION,

                Appellee/Defendant.

******************************************************************************

        Si Tanka University, the Plaintiff/Debtor, appeals under 28 U.S.C. §158(a) from the order
of the bankruptcy judge denying Plaintiff-Debtor’s Motion for Preliminary Injunction, entered in
this adversary proceeding on the 12th day of May, 2005.

       The names of all parties to the Order appealed from and the names, addresses, and
telephone numbers of their respective attorneys are as follows:

         Si Tanka University – Appellant/Plaintiff/Debtor
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United States Department Of Education – Appellee/Defendant
       Stephanie Bengford
       U.S. Attorney’s Office
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Dated this 20th day of May, 2005.


                                    STUART, GERRY & SCHLIMGEN, PROF. LLC:


                             By: _/s/ Clair R. Gerry                           ______
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